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                       IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

     In re:                                    :    Chapter 11
     Blackjewel, L.L.C., et al.,               :    Case No. 19-30289
     Debtors,1                                 :    (Jointly Administered)
                                               :
                                               :
     BLACKJEWEL, L.L.C., et al.                :    Adv. Proc. No. 3:20-ap-03008
                                               :
            Plaintiffs,                        :
     v.                                        :
                                               :
     CLEARWATER INVESTMENT                     :
     HOLDINGS, LLC, et al.,                    :
                                               :
            Defendants.                        :

                          STIPULATION OF DISMISSAL WITH PREJUDICE

           Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and Bankr. R. 7041, the Blackjewel Liquidation

 Trust (the “Trust”), as successor to the Debtors as Plaintiffs in the above-captioned action, and

 Defendants Jeffery A. Hoops, Sr. and Clearwater Investment Holdings, LLC (“Defendants”) (each

 of the Trust and Defendants, a “Party”), by and through their respective counsel, hereby stipulate

 and agree that this action is dismissed with prejudice to refiling and with each Party to pay its own

 fees and costs.




 1
   Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification
 number were as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745); Revelation
 Energy Holdings, LLC (8795); Revelation Management Corporation (8908); Revelation Energy, LLC
 (4605); Dominion Coal Corporation (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal
 Corporation (2785); Lone Mountain Processing, LLC (0457); Powell Mountain Energy, LLC (1024);
 and Cumberland River Coal LLC (2213).
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                                     Stipulated and Agreed,

  DATED: August 17, 2022

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                                                           – and –
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                                CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that the foregoing “Stipulation of Dismissal

 with Prejudice” was filed and served upon counsel for Defendants via electronic mail this 17th

 day of August, 2022.
                                               /s/ Scott A. Kane




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